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12
                               UNITED STATES DISTRICT COURT
13                              FOR THE DISTRICT OF IDAHO
14    SHOSHONE-BANNOCK TRIBES OF                      Case No.: 4:20-cv-00553-BLW
15    THE FORT HALL RESERVATION,

16                Plaintiff,
                                                      FEDERAL DEFENDANTS’
17         v.                                         MOTION FOR EXTENSION OF
18                                                    BRIEFING SCHEDULE AND FOR
      LAURA DANIEL-DAVIS,1
                                                      EXPEDITED CONSIDERATION &
      PRINCIPAL DEPUTY ASSISTANT
19                                                    RULING ON MOTION
      SECRETARY FOR LAND AND
20    MINERALS MANAGEMENT,
      UNITED STATES DEPARTMENT OF
21    THE INTERIOR and UNITED STATES
      BUREAU OF LAND MANAGEMENT,
22

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24    1
        Pursuant to Fed. R. Civ. P. 25(d), Ms. Daniel-Davis is automatically substituted for
25
      her predecessor in the official public position she now holds for the U.S. Department
      of the Interior.
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 1                 Defendants,
 2    and
 3    J.R. SIMPLOT COMPANY,
 4
                    Defendant-Intervenor.
 5

 6          Pursuant to Federal Rule of Civil Procedure 7 and LR 6.1(a), Federal Defendants

 7   hereby respectfully move the Court for a sixty-day extension of time for Federal

 8   Defendants to file their cross-motion for summary judgment and respond to Plaintiff

 9   Shoshone-Bannock Tribes of the Fort Hall Reservation’s motion for summary judgment.
     This is Federal Defendants’ first request for an extension on the briefing schedule for the
10
     parties’ cross-motions for summary judgment. Federal Defendants further respectfully
11
     request that the Court consider the motion on an expedited basis in light of the fact that
12
     the cross-motion is currently due on June 13, 2022.
13
            Plaintiff filed its motion for summary judgment on April 29, 2022 (ECF No. 37)
14
     pursuant to the Court’s Scheduling Order issued on October 12, 2021 (ECF No. 24)
15
     (“Scheduling Order”). The remaining deadlines for the parties’ cross-motions for
16
     summary judgment as established by the Scheduling Order are:
17
                06/13/22: Deadline for Federal Defendants and Intervenor-Defendant J.R.
18                 Simplot Company (“Simplot”) to respond to Plaintiff’s summary judgment
19                 motion and file cross-motions for summary judgment2
20

21
      2 To maintain consistency with the Scheduling Order, Federal Defendants anticipate
22
      that the deadline for both Federal Defendants and Defendant-Intervenor Simplot
23    would similarly be extended by sixty days if this Court grants Federal Defendants’
24
      motion for an extension so that both cross-motions/oppositions would be filed on the
      same day.
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 1              07/28/22: Deadline for Plaintiff to respond to Defendants’ cross-motions
 2                 for summary judgment and file reply in support of their motion for
 3                 summary judgment
 4              08/29/22: Deadline for Defendants to file replies in support of cross-
 5                 motions for summary judgment

 6          On May 18, 2022, undersigned counsel for Federal Defendants advised counsel

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     for the other parties of Federal Defendants’ intention to seek a 60-day extension of their
     summary judgment deadline and asked if the parties would agree to such an extension. In
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     response, Plaintiff’s counsel requested information regarding whether any ground-
 9
     disturbing activities would occur on the former federal exchange lands that Simplot
10
     acquired pursuant to the challenged land exchange in December 2020 during this 60-day
11
     extension time frame. On May 24, 2022, counsel for Simplot responded that the only
12
     ground-disturbing activity Simplot plans to undertake on the former federal exchange
13
     lands between that date and August 12, 2022, is ongoing work in connection with drilling
14
     a groundwater monitoring well that was due to be completed within a week or so.
15
            On May 31, 2022, Plaintiff’s counsel stated that Plaintiff would not agree to a
16   sixty-day extension, but might agree to a thirty-day extension upon certain conditions,
17   including that Federal Defendants and Simplot waive any argument related to completion
18   of work on the property at any time after the Bureau of Land Management issued its
19   Record of Decision in August 2020. Because a thirty-day extension is not sufficient for
20   Federal Defendants to effectively respond to Plaintiff’s motion for summary judgment
21   and Federal Defendants are not able to agree to Plaintiff’s conditions, Federal Defendants
22   move this Court for a sixty-day extension.

23          Federal Defendants’ motion is based on good cause. First, Federal Defendants

24   need additional time to fully consider and respond to Plaintiff’s arguments. Plaintiff’s

25
     summary judgment brief is fifty pages long and makes a number of arguments based on

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 1   multiple federal statutes and treaties. Some of these arguments either were not raised in
 2   the Complaint, such as the argument that the land exchange at issue does not meet the
 3   equal-value requirements of the Federal Land Policy and Management Act (“FLPMA”),
 4   or have been expanded upon from the allegations in the Complaint. Federal Defendants

 5   therefore need additional time to consider and respond to these arguments. In addition,

 6   Plaintiff submitted a separate statement of material facts in support of their motion for

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     summary judgment to which Federal Defendants intend to respond.
            Federal Defendants also need additional time to determine how to address the
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     exhibits attached to Plaintiff’s motion, which total nearly 500 pages. These exhibits are
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     outside the administrative record compiled by Federal Defendants and provided to the
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     parties, and Plaintiff did not inform Federal Defendants that it viewed such materials as
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     necessary to supplement that administrative record by December 1, 2021, as provided in
12
     the Scheduling Order. Nor did Plaintiff move the Court to complete or supplement the
13
     administrative record or request judicial notice, as required by the Scheduling Order.
14
     Federal Defendants therefore need additional time to examine and determine how to
15
     respond to these materials, including possibly moving to strike some or all of the
16   materials.
17          Federal Defendants also request more time to consider a settlement counter-
18   proposal. The parties engaged in a mediation session that resulted in Simplot sharing a
19   proposed conceptual settlement framework, and Plaintiff offering a counter-proposal that
20   was provided to Federal Defendants on April 1, 2022. Federal Defendants intend to use
21   the additional 60 days, if granted, to consider the counterproposal, in addition to using the
22   time to prepare their cross-motion for summary judgment and supporting memorandum.

23          Finally, Federal Defendants require an additional sixty days instead of a shorter

24   extension because of litigation counsel’s other deadlines and scheduled leave. Ms.

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     Boylan has a motion for summary judgment in another federal case due on June 24, a

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 1   hearing on July 6, and she will be out of the office attending depositions during the weeks
 2   of June 20 and July 11. Ms. McCune also has scheduled, pre-paid travel plans and will
 3   be out of the country from July 19 to July 26. In light of these scheduling conflicts, a
 4   shorter extension of 30 or 45 days would not provide Federal Defendants sufficient time

 5   to prepare their filings.

 6           In light of the foregoing, Federal Defendants respectfully request this Court extend

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     the deadline for submitting cross-motions for summary judgment and oppositions to
     Plaintiff’s motion for summary judgment for sixty days, up to and including August 12,
 8
     2022.
 9
             Federal Defendants further respectfully submit that good cause exists for the Court
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     to give expedited consideration to this motion because their cross-motion for summary
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     judgment and opposition to Plaintiff’s motion is due June 13, 2022, less than two weeks
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     from now. Therefore, the ordinary time frame for briefing and resolution of motions in
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     the local rules would not allow Federal Defendants’ requested extension to be ruled upon
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     prior to this next pending deadline. In addition, Plaintiff has been aware of Federal
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     Defendants’ need for an extension since May 18 and only provided its position on May
16   31. Plaintiff’s counsel represented that Plaintiff does not object to expedited
17   consideration as long as Plaintiff has until June 7 to respond to the motion for an
18   extension and provided the Court is agreeable to an expedited schedule.
19           For the foregoing reasons, Federal Defendants respectfully submit that the Court
20   should provide expedited consideration to this motion for an extension of the summary
21   judgment briefing schedule, and issue a revised scheduling order reflecting the extended
22   deadlines this motion requests.

23           WHEREFORE, Federal Defendants respectfully request that the Court grant this

24   Motion and extend the filing deadline for Federal Defendants’ cross-motion by sixty

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 1   days, making the filing deadline August 12, 2022, and push back all other scheduled
 2   dates by sixty days.
 3          Respectfully submitted this 2nd day of June, 2022,
 4

 5                                                  TODD KIM
                                                    Assistant Attorney General
 6
                                                     /s/ Devon Lehman McCune
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